Case: 6:09-cr-00016-KKC            Doc #: 1548 Filed: 10/25/13        Page: 1 of 2 - Page ID#:
                                             17324



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     AT LONDON

       UNITED STATES OF AMERICA,                    )
                                                    )       CRIMINAL NO. 6:09-16-KKC
                      Plaintiff,                    )
               v.                                   )
                                                    )       ORDER
       RUSSELL CLETUS MARICLE,                      )
                                                    )
                      Defendant.                    )


                                         ** ** ** ** **

       This matter is before the Court on the motion in limine by the Defendant Russell Cletus

Maricle (DE 1472) requesting that the Court preclude the United States from presenting the

testimony of IRS Agent Jeff Sagrecy.

       The defendants are charged with various violations of federal law, all of which are related

to their alleged participation in a vote-buying and vote-stealing scheme in Clay County,

Kentucky that lasted from 2002 to 2007 and encompassed three election cycles – 2002, 2004,

and 2006. There are now five defendants in this matter scheduled for trial: Douglas C. Adams,

Freddy W. Thompson, Charles Wayne Jones, Russell Cletus Maricle, and William E. Stivers.

       Trial is scheduled to begin November 4, 2013. This will be the second trial of these

defendants. Their first trial occurred before U.S. District Judge Danny Reeves. After seven

weeks, the jury found all of the defendants guilty of all counts. The Sixth Circuit vacated the

defendants’ convictions finding that that the cumulative effect of various errors during the trial

warranted a new trial. United States v. Adams, et al., 722 F.3d 788 (6th Cir. 2013). Judge Reeves

recused from the matter and reassigned it to the undersigned. (DE 1311.)
Case: 6:09-cr-00016-KKC          Doc #: 1548 Filed: 10/25/13          Page: 2 of 2 - Page ID#:
                                           17325



       Maricle argues that Sagrecy testified as an opinion witness at the first trial regarding

money-laundering charges and that, because those charges have now been dismissed, his

testimony should be excluded. In the alternative, he argues that the Court should conduct a

hearing regarding Sagrecy’s qualifications. The government has filed a notice of its intent to call

Sagrecy as an opinion witness to testify with regard to the RICO charge against the Defendants.

       Accordingly, the Court hereby ORDERS that Maricle’s motion (DE 1472) is DENIED to

the extent he seeks to exclude Sagrecy’s testimony and the motion is GRANTED to the extent he

requests a hearing regarding Sagrecy’s qualifications to testify as an opinion witness on the

identified subject. The Court further hereby ORDERS that the matter SHALL BE HEARD on

October 31, 2013 at 2:00 p.m.

       Dated this 25th day of October, 2013.




                                                2
